                            Case 1-15-40586-nhl                       Doc 1        Filed 02/16/15              Entered 02/16/15 15:18:59
B1 (Official Form 1) (4/10)
                                    UNITED STATES BANKRUPTCY COURT
                                                                                                                                       VOLUNTARY PETITION
                                    Eastern District
                                      __________      of New
                                                 District       York
                                                          of __________
 Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
  Badalova, Nonna
 All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                     (include married, maiden, and trade names):


 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                   Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN
 (if more than one, state all):                                                                  (if more than one, state all):
  9413
 Street Address of Debtor (No. and Street, City, and State):                                     Street Address of Joint Debtor (No. and Street, City, and State):
 2662 West 2nd Street, Apt 2B
 Brooklyn, NY
                                                                      ZIP CODE 11223                                                                          ZIP CODE
 County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:
  Kings
 Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):



                                                                 ZIP CODE                                                                                     ZIP CODE
 Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                           ZIP CODE
                      Type of Debtor                                        Nature of Business                              Chapter of Bankruptcy Code Under Which
                  (Form of Organization)                                     (Check one box.)                                  the Petition is Filed (Check one box.)
                     (Check one box.)
                                                                   Health Care Business                          ✔       Chapter 7               Chapter 15 Petition for
  ✔     Individual (includes Joint Debtors)                        Single Asset Real Estate as defined in                Chapter 9               Recognition of a Foreign
        See Exhibit D on page 2 of this form.                      11 U.S.C. § 101(51B)                                  Chapter 11              Main Proceeding
        Corporation (includes LLC and LLP)                         Railroad                                              Chapter 12              Chapter 15 Petition for
        Partnership                                                Stockbroker                                           Chapter 13              Recognition of a Foreign
        Other (If debtor is not one of the above entities,         Commodity Broker                                                              Nonmain Proceeding
        check this box and state type of entity below.)            Clearing Bank
                                                                   Other                                                                  Nature of Debts
                                                              ___________________________________                                         (Check one box.)
 __________________________________________                              Tax-Exempt Entity
                                                                      (Check box, if applicable.)                ✔ Debts are primarily consumer              Debts are primarily
                                                                                                                       debts, defined in 11 U.S.C.           business debts.
                                                                      Debtor is a tax-exempt organization              § 101(8) as “incurred by an
                                                                      under Title 26 of the United States              individual primarily for a
                                                                      Code (the Internal Revenue Code).                personal, family, or house-
                                                                                                                       hold purpose.”
                                Filing Fee (Check one box.)                                                                       Chapter 11 Debtors
                                                                                                 Check one box:
  ✔     Full Filing Fee attached.                                                                    Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                     Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach
        signed application for the court’s consideration certifying that the debtor is           Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                     insiders or affiliates) are less than $2,343,300 (amount subject to adjustment
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                 on 4/01/13 and every three years thereafter).
        attach signed application for the court’s consideration. See Official Form 3B.           -----------------------------------
                                                                                                 Check all applicable boxes:
                                                                                                     A plan is being filed with this petition.
                                                                                                     Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                     of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                          THIS SPACE IS FOR
                                                                                                                                                                 COURT USE ONLY
           Debtor estimates that funds will be available for distribution to unsecured creditors.
  ✔        Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
           distribution to unsecured creditors.
 Estimated Number of Creditors
  ✔
 1-49          50-99          100-199         200-999        1,000-          5,001-         10,001-          25,001-           50,001-          Over
                                                             5,000           10,000         25,000           50,000            100,000          100,000

 Estimated Assets
  ✔
 $0 to         $50,001 to     $100,001 to     $500,001       $1,000,001      $10,000,001    $50,000,001      $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000        to $1          to $10          to $50         to $100          to $500           to $1 billion    $1 billion
                                              million        million         million        million          million
 Estimated Liabilities
                              ✔
 $0 to         $50,001 to     $100,001 to     $500,001       $1,000,001      $10,000,001    $50,000,001      $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000        to $1          to $10          to $50         to $100          to $500           to $1 billion    $1 billion
                                              million        million         million        million          million
                                Case 1-15-40586-nhl                  Doc 1         Filed 02/16/15                Entered 02/16/15 15:18:59
B1 (Official Form 1) (4/10)                                                                                                                                              Page 2
 Voluntary Petition                                                                              Name of Debtor(s):
 (This page must be completed and filed in every case.)
                                     All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                             Case Number:                                     Date Filed:
 Where Filed:
 Location                                                                             Case Number:                                     Date Filed:
 Where Filed:
                      Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                      Case Number:                                     Date Filed:

 District:                                                                                       Relationship:                                   Judge:
                    Eastern District of New York
                                           Exhibit A                                                                                 Exhibit B
                                                                                                                     (To be completed if debtor is an individual
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and 10Q)                           whose debts are primarily consumer debts.)
 with the Securities and Exchange Commission pursuant to Section 13 or 15(d) of the
 Securities Exchange Act of 1934 and is requesting relief under chapter 11.)                     I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                                 have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12,
                                                                                                 or 13 of title 11, United States Code, and have explained the relief available under
                                                                                                 each such chapter. I further certify that I have delivered to the debtor the notice
                                                                                                 required by 11 U.S.C. § 342(b).

         Exhibit A is attached and made a part of this petition.                                 X     /s/Leonard B Sukherman                     02/16/2015
                                                                                                     Signature of Attorney for Debtor(s)       (Date)

                                                                                       Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

         Yes, and Exhibit C is attached and made a part of this petition.

 ✔       No.


                                                                                       Exhibit D

 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

     ✔       Exhibit D completed and signed by the debtor is attached and made a part of this petition.

 If this is a joint petition:

          Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.



                                                                      Information Regarding the Debtor - Venue
                                                                                (Check any applicable box.)
                ✔      Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                       preceding the date of this petition or for a longer part of such 180 days than in any other District.

                       There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                       Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has
                       no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this
                       District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                   Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                           (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                (Name of landlord that obtained judgment)



                                                                                                (Address of landlord)

                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
                          of the petition.

                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form) 1 (4/10)                                                                                                                                       Page 3
Voluntary Petition                                                                          Name of Debtor(s):
(This page must be completed and filed in every case.)
                                                                                   Signatures
                    Signature(s) of Debtor(s) (Individual/Joint)                                                  Signature of a Foreign Representative

I declare under penalty of perjury that the information provided in this petition is true   I declare under penalty of perjury that the information provided in this petition is
and correct.                                                                                true and correct, that I am the foreign representative of a debtor in a foreign
[If petitioner is an individual whose debts are primarily consumer debts and has            proceeding, and that I am authorized to file this petition.
chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
or 13 of title 11, United States Code, understand the relief available under each such      (Check only one box.)
chapter, and choose to proceed under chapter 7.
                                                                                                I request relief in accordance with chapter 15 of title 11, United States Code.
[If no attorney represents me and no bankruptcy petition preparer signs the petition] I         Certified copies of the documents required by 11 U.S.C. § 1515 are attached.
have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States Code,                chapter of title 11 specified in this petition. A certified copy of the
specified in this petition.                                                                      order granting recognition of the foreign main proceeding is attached.

X     /s/ Nonna Badalova                                                                    X
     Signature of Debtor                                                                        (Signature of Foreign Representative)

X
     Signature of Joint Debtor                                                                  (Printed Name of Foreign Representative)

     Telephone Number (if not represented by attorney)
      02/16/2015                                                                                Date
     Date
                                 Signature of Attorney*                                                Signature of Non-Attorney Bankruptcy Petition Preparer

X     /s/Leonard B Sukherman                                                                I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
     Signature of Attorney for Debtor(s)                                                    defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
      Leonard B. Sukherman, Esq.                                                            provided the debtor with a copy of this document and the notices and information
     Printed Name of Attorney for Debtor(s)                                                 required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
      Leonard B. Sukherman & Associates, P.C.                                               guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
     Firm Name                                                                              maximum fee for services chargeable by bankruptcy petition preparers, I have given
      3171 Coney Island Ave, 2nd                                                            the debtor notice of the maximum amount before preparing any document for filing
                                                                                            for a debtor or accepting any fee from the debtor, as required in that section.
      Brooklyn, NY 11235                                                                    Official Form 19 is attached.
     Address
      718-787-0500
     Telephone Number                                                                           Printed Name and title, if any, of Bankruptcy Petition Preparer
      02/16/2015
     Date                                                                                       Social-Security number (If the bankruptcy petition preparer is not an
                                                                                                individual, state the Social-Security number of the officer, principal,
*In a case in which § 707(b)(4)(D) applies, this signature also constitutes a                   responsible person or partner of the bankruptcy petition preparer.) (Required
certification that the attorney has no knowledge after an inquiry that the information          by 11 U.S.C. § 110.)
in the schedules is incorrect.

                  Signature of Debtor (Corporation/Partnership)

I declare under penalty of perjury that the information provided in this petition is true       Address
and correct, and that I have been authorized to file this petition on behalf of the         X
debtor.

The debtor requests the relief in accordance with the chapter of title 11, United States        Date
Code, specified in this petition.
                                                                                            Signature of bankruptcy petition preparer or officer, principal, responsible person,
X                                                                                           or partner whose Social-Security number is provided above.
     Signature of Authorized Individual
                                                                                            Names and Social-Security numbers of all other individuals who prepared or
     Printed Name of Authorized Individual
                                                                                            assisted in preparing this document unless the bankruptcy petition preparer is not an
     Title of Authorized Individual                                                         individual.

     Date                                                                                   If more than one person prepared this document, attach additional sheets
                                                                                            conforming to the appropriate official form for each person.

                                                                                            A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                            and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment
                                                                                            or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
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B 1D (Official Form 1, Exhibit D) (12/09)



                         UNITED STATES BANKRUPTCY COURT
                                            Eastern District
                                             __________      of NewofYork
                                                          District   __________


               Badalova, Nonna
          In re__________________________                                         Case No._____________
                                Debtor                                                      (if known)




     EXHIBIT D - INDIVIDUAL DEBTOR’S STATEMENT OF COMPLIANCE WITH
                     CREDIT COUNSELING REQUIREMENT

        Warning: You must be able to check truthfully one of the five statements regarding
credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
case, and the court can dismiss any case you do file. If that happens, you will lose whatever
filing fee you paid, and your creditors will be able to resume collection activities against
you. If your case is dismissed and you file another bankruptcy case later, you may be
required to pay a second filing fee and you may have to take extra steps to stop creditors’
collection activities.

       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
must complete and file a separate Exhibit D. Check one of the five statements below and attach
any documents as directed.

       ✔
       u 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
developed through the agency.

        u 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the
services provided to you and a copy of any debt repayment plan developed through the agency
no later than 14 days after your bankruptcy case is filed.
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                                                                                                   Page 2
  B 1D (Official Form 1, Exh. D) (12/09) – Cont.


        u 3. I certify that I requested credit counseling services from an approved agency but
was unable to obtain the services during the seven days from the time I made my request, and the
following exigent circumstances merit a temporary waiver of the credit counseling requirement
so I can file my bankruptcy case now. [Summarize exigent circumstances here.]
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


       If your certification is satisfactory to the court, you must still obtain the credit
counseling briefing within the first 30 days after you file your bankruptcy petition and
promptly file a certificate from the agency that provided the counseling, together with a
copy of any debt management plan developed through the agency. Failure to fulfill these
requirements may result in dismissal of your case. Any extension of the 30-day deadline
can be granted only for cause and is limited to a maximum of 15 days. Your case may also
be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.

       u 4. I am not required to receive a credit counseling briefing because of: [Check the
applicable statement.] [Must be accompanied by a motion for determination by the court.]

                 u Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
         illness or mental deficiency so as to be incapable of realizing and making rational
         decisions with respect to financial responsibilities.);
                 u Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
         extent of being unable, after reasonable effort, to participate in a credit counseling
         briefing in person, by telephone, or through the Internet.);
                 u Active military duty in a military combat zone.

       u 5. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of 11 U.S.C. ' 109(h) does not apply in this district.


       I certify under penalty of perjury that the information provided above is true and
correct.


                                          Signature of Debtor: /s/ Nonna Badalova
                                                               ________________________

                                                02/16/2015
                                          Date: _________________
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B6 Summary (Official Form 6 - Summary) (12/07)



                                           United States Bankruptcy Court
                                                      _________   District
                                                        Eastern District     Of __________
                                                                         of New York

       Badalova, Nonna
In re ___________________________________,                                                Case No. ___________________
                       Debtor
                                                                                                       7
                                                                                          Chapter ____________

                                                   SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical
Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.

                                                  ATTACHED
 NAME OF SCHEDULE                                  (YES/NO)      NO. OF SHEETS             ASSETS               LIABILITIES              OTHER

 A - Real Property                                                                    $
                                                    YES                          1           0.00

 B - Personal Property                                                                $
                                                    YES                          3         2,650.00

 C - Property Claimed
                                                    YES                          1
     as Exempt

 D - Creditors Holding                                                                                      $
     Secured Claims
                                                    YES                          1                                         0.00

 E - Creditors Holding Unsecured                    YES                          3                          $              0.00
     Priority Claims
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured                    YES                          2                          $   166,183.71
     Nonpriority Claims


 G - Executory Contracts and                        YES                          1
     Unexpired Leases


 H - Codebtors                                      YES                          1

 I - Current Income of                              YES                          2                                                  $   5,750.00
     Individual Debtor(s)

 J - Current Expenditures of Individual             YES                          3                                                  $   5,777.09
     Debtors(s)

                                          TOTAL                                       $                     $
                                                                                18           2,650.00              166,183.71
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B 6 Summary (Official Form 6 - Summary) (12/07)


                                         United States Bankruptcy Court
                                                  ______  District
                                                     Eastern DistrictOf ___________
                                                                     of New York
In re ___________________________________,
       Badalova, Nonna                                                                   Case No. ___________________
                       Debtor
                                                                                         Chapter ____________
                                                                                                  7

    STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

          Q Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.



 Type of Liability                                                    Amount

 Domestic Support Obligations (from Schedule E)                       $           0.00

 Taxes and Certain Other Debts Owed to Governmental Units             $           0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was                 $           0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                           $           0.00

 Domestic Support, Separation Agreement, and Divorce Decree           $           0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar          $           0.00
 Obligations (from Schedule F)

                                                           TOTAL      $           0.00

State the following:
 Average Income (from Schedule I, Line 16)                            $      5,750.00
 Average Expenses (from Schedule J, Line 18)                          $      5,777.09

 Current Monthly Income (from Form 22A Line 12; OR, Form              $      5,750.00
 22B Line 11; OR, Form 22C Line 20 )

State the following:
  1. Total from Schedule D, “UNSECURED PORTION, IF                                         $            0.00
  ANY” column

  2. Total from Schedule E, “AMOUNT ENTITLED TO                       $           0.00
  PRIORITY” column.

  3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                        $            0.00
  PRIORITY, IF ANY” column

  4. Total from Schedule F                                                                 $   166,183.71

  5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                             $   166,183.71
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B6A (Official Form 6A) (12/07)

       Badalova, Nonna
In re _____________________________________________,                                                    Case No. ______________________________
                 Debtor                                                                                                  (If known)


                                           SCHEDULE A - REAL PROPERTY
    Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor’s own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,”
“W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
“Description and Location of Property.”

   Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

    If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims
to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

   If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.




             DESCRIPTION AND                                                                       CURRENT VALUE                      AMOUNT OF
               LOCATION OF                           NATURE OF DEBTOR’S                              OF DEBTOR’S                       SECURED
                PROPERTY                            INTEREST IN PROPERTY                             INTEREST IN                        CLAIM
                                                                                                 PROPERTY, WITHOUT
                                                                                                   DEDUCTING ANY
                                                                                                   SECURED CLAIM
                                                                                                    OR EXEMPTION


                                                                                                                     0.00                          None




                                                                                 Total                     0.00
                                                                                 (Report also on Summary of Schedules.)
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B 6B (Official Form 6B) (12/07)

       Badalova, Nonna
In re _______________________________________________,                                                    Case No. _________________________
                 Debtor                                                                                                    (If known)


                                          SCHEDULE B - PERSONAL PROPERTY
           Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital
community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

        Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                              CURRENT VALUE OF
                                                                                                                              DEBTOR’S INTEREST
                                                N                                                                             IN PROPERTY, WITH-
          TYPE OF PROPERTY                      O                 DESCRIPTION AND LOCATION                                    OUT DEDUCTING ANY
                                                N                       OF PROPERTY                                             SECURED CLAIM
                                                E                                                                                OR EXEMPTION

 1. Cash on hand.                                      Cash                                                                                        100.00

 2. Checking, savings or other finan-
 cial accounts, certificates of deposit                Checking Account Chase
 or shares in banks, savings and loan,
 thrift, building and loan, and home-                                                                                                            1,000.00
 stead associations, or credit unions,
 brokerage houses, or cooperatives.

 3. Security deposits with public util-
 ities, telephone companies, land-              X
 lords, and others.

 4. Household goods and furnishings,
 including audio, video, and computer                  Furniture, PC, TV, Stereo
                                                                                                                                                   500.00
 equipment.

 5. Books; pictures and other art
 objects; antiques; stamp, coin,                       Books
                                                                                                                                                   800.00
 record, tape, compact disc, and other
 collections or collectibles.

 6. Wearing apparel.                                   Clothing                                                                                    200.00
 7. Furs and jewelry.                                  Watch                                                                                        50.00
 8. Firearms and sports, photo-
 graphic, and other hobby equipment.            X
 9. Interests in insurance policies.
 Name insurance company of each
 policy and itemize surrender or                X
 refund value of each.

 10. Annuities. Itemize and name
 each issuer.                                   X
 11. Interests in an education IRA as
 defined in 26 U.S.C. § 530(b)(1) or under
 a qualified State tuition plan as defined in
 26 U.S.C. § 529(b)(1). Give particulars.       X
 (File separately the record(s) of any such
 interest(s). 11 U.S.C. § 521(c).)
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B 6B (Official Form 6B) (12/07) -- Cont.



       Badalova, Nonna
In re ______________________________________________,                                Case No. _________________________
                 Debtor                                                                               (If known)


                                           SCHEDULE B - PERSONAL PROPERTY
                                                         (Continuation Sheet)

                                                                                                    CURRENT VALUE OF
                                                                                                    DEBTOR’S INTEREST
                                                  N                                                 IN PROPERTY, WITH-
          TYPE OF PROPERTY                        O       DESCRIPTION AND LOCATION                  OUT DEDUCTING ANY
                                                  N             OF PROPERTY                           SECURED CLAIM
                                                  E                                                    OR EXEMPTION


 12. Interests in IRA, ERISA, Keogh, or
 other pension or profit sharing plans.           X
 Give particulars.

 13. Stock and interests in incorporated
 and unincorporated businesses.                   X
 Itemize.

 14. Interests in partnerships or joint
 ventures. Itemize.                               X

 15. Government and corporate bonds
 and other negotiable and non-
                                                  X
 negotiable instruments.

 16. Accounts receivable.
                                                  X
 17. Alimony, maintenance, support,
 and property settlements to which the
 debtor is or may be entitled. Give               X
 particulars.

 18. Other liquidated debts owed to
 debtor including tax refunds. Give               X
 particulars.

 19. Equitable or future interests, life
 estates, and rights or powers exercisable
 for the benefit of the debtor other than
 those listed in Schedule A – Real                X
 Property.

 20. Contingent and noncontingent
 interests in estate of a decedent, death
 benefit plan, life insurance policy, or trust.   X

 21. Other contingent and unliquidated
 claims of every nature, including tax
 refunds, counterclaims of the debtor, and
 rights to setoff claims. Give estimated          X
 value of each.
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B 6B (Official Form 6B) (12/07) -- Cont.

       Badalova, Nonna
In re _________________________________________________,                                            Case No. _________________________
                 Debtor                                                                                              (If known)

                                            SCHEDULE B - PERSONAL PROPERTY
                                                               (Continuation Sheet)


                                                                                                                    CURRENT VALUE OF
                                                                                                                    DEBTOR’S INTEREST
                                               N                                                                    IN PROPERTY, WITH-
          TYPE OF PROPERTY                     O       DESCRIPTION AND LOCATION                                     OUT DEDUCTING ANY
                                               N             OF PROPERTY                                              SECURED CLAIM
                                               E                                                                       OR EXEMPTION


 22. Patents, copyrights, and other
 intellectual property. Give particulars.      X

 23. Licenses, franchises, and other general
 intangibles. Give particulars.                X
 24. Customer lists or other compilations
 containing personally identifiable
 information (as defined in 11 U.S.C.
  § 101(41A)) provided to the debtor by
 individuals in connection with obtaining a    X
 product or service from the debtor
 primarily for personal, family, or
 household purposes.

  25. Automobiles, trucks, trailers,
 and other vehicles and accessories.           X

 26. Boats, motors, and accessories.
                                               X
 27. Aircraft and accessories.
                                               X
 28. Office equipment, furnishings,
 and supplies.
                                               X

 29. Machinery, fixtures, equipment,
 and supplies used in business.
                                               X

 30. Inventory.                                X

 31. Animals.                                  X


 32. Crops - growing or harvested.
 Give particulars.                             X

 33. Farming equipment and implements.
                                               X

 34. Farm supplies, chemicals, and feed.       X
 35. Other personal property of any kind
 not already listed. Itemize.                  X


                                                           __________continuation sheets attached     Total     $                 2,650.00
                                                                  (Include amounts from any continuation
                                                                  sheets attached. Report total also on
                                                                              Summary of Schedules.)
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B 6C (Official Form 6C) (04/10)

       Badalova, Nonna
In re ____________________________________________,                                               Case No. _________________________
                    Debtor                                                                                         (If known)


                          SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

 Debtor claims the exemptions to which debtor is entitled under:        G Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                          $146,450.*
 G 11 U.S.C. § 522(b)(2)
 G 11 U.S.C. § 522(b)(3)




                                                                                                                        CURRENT
                                              SPECIFY LAW                            VALUE OF                      VALUE OF PROPERTY
   DESCRIPTION OF PROPERTY                  PROVIDING EACH                           CLAIMED                       WITHOUT DEDUCTING
                                               EXEMPTION                            EXEMPTION                          EXEMPTION



  Cash & Checking Chase
                                     §522(d)(5)                                                   1,100.00                          1,100.00


  Furniture, PC, TV, Stereo
                                       §522(d)(3)                                                   500.00                            500.00


  Books
                                       §522(d)(3)                                                   800.00                            800.00


  Clothing
                                       §522(d)(3)                                                   200.00                            200.00


  Watch
                                       §522(d)(4)                                                    50.00                             50.00




* Amount subject to adjustment on 4/1/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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B 6D (Official Form 6D) (12/07)

                            Badalova, Nonna
                     In re ____________________________________,                                                  Case No. __________________________________
                                        Debtor                                                                                           (If known)

                              SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
           State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by
property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful
to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as
judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
           List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the
entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife,
both of them, or the marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife,
Joint, or Community.”
           If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column
labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of
these three columns.)
           Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value
of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from the column
labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.

          Ƒ✔         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                  HUSBAND, WIFE,




 CREDITOR’S NAME AND                                               DATE CLAIM WAS                         UNLIQUIDATED                AMOUNT OF CLAIM                  UNSECURED
                                                                                             CONTINGENT
                                                   COMMUNITY
                                       CODEBTOR




    MAILING ADDRESS                                                   INCURRED,                                                           WITHOUT                      PORTION, IF
                                                    JOINT, OR




INCLUDING ZIP CODE AND                                             NATURE OF LIEN ,                                        DISPUTED   DEDUCTING VALUE                     ANY
  AN ACCOUNT NUMBER                                                      AND                                                           OF COLLATERAL
   (See Instructions Above.)                                         DESCRIPTION
                                                                    AND VALUE OF
                                                                      PROPERTY
                                                                   SUBJECT TO LIEN
ACCOUNT NO.




                                                                   VALUE $
ACCOUNT NO.




                                                                   VALUE $
ACCOUNT NO.




                                                                   VALUE $
____continuation sheets                                            Subtotal Ź                                                         $                            $
     attached                                                      (Total of this page)                                                                   0.00
                                                                   Total Ź                                                            $                            $
                                                                   (Use only on last page)                                                                0.00
                                                                                                                                      (Report also on Summary of   (If applicable, report
                                                                                                                                      Schedules.)                  also on Statistical
                                                                                                                                                                   Summary of Certain
                                                                                                                                                                   Liabilities and Related
                                                                                                                                                                   Data.)
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B 6E (Official Form 6E) (04/10)


          In re               Badalova, Nonna                      ,                                    Case No.
                                  Debtor                                                                                     (if known)


         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

    The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife,
both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife,
Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the
column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more
than one of these three columns.)

    Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule
E in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

    Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

    Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

✔ Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations

    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case

  Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions

  Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
    Contributions to employee benefit plans

  Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


 * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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B 6E (Official Form 6E) (04/10) – Cont.



  In re   Badalova, Nonna                                          ,             Case No.
                              Debtor                                                                  (if known)




    Certain farmers and fishermen

  Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


    Deposits by individuals

  Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).


    Taxes and Certain Other Debts Owed to Governmental Units

  Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


    Commitments to Maintain the Capital of an Insured Depository Institution

  Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).


    Claims for Death or Personal Injury While Debtor Was Intoxicated

  Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
drug, or another substance. 11 U.S.C. § 507(a)(10).




* Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.




                                                           ____ continuation sheets attached
                       Case 1-15-40586-nhl                                  Doc 1         Filed 02/16/15                             Entered 02/16/15 15:18:59
B 6E (Official Form 6E) (04/10) – Cont.

       Badalova, Nonna
In re __________________________________________,                                                        Case No. _________________________________
                   Debtor                                                                                                  (if known)

   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                       (Continuation Sheet)

                                                                                                                                                Type of Priority for Claims Listed on This Sheet




                                                                                                                      UNLIQUIDATED
       CREDITOR’S NAME,                                                     DATE CLAIM WAS                                                          AMOUNT           AMOUNT        AMOUNT




                                                                                                         CONTINGENT
                                                           HUSBAND, WIFE,

                                                            COMMUNITY
        MAILING ADDRESS                                                      INCURRED AND                                                             OF             ENTITLED         NOT




                                                             JOINT, OR




                                                                                                                                     DISPUTED
      INCLUDING ZIP CODE,                                                   CONSIDERATION                                                            CLAIM              TO         ENTITLED
     AND ACCOUNT NUMBER                         CODEBTOR                       FOR CLAIM                                                                             PRIORITY          TO
       (See instructions above.)                                                                                                                                                  PRIORITY, IF
                                                                                                                                                                                      ANY




 Account No.




 Account No.




 Account No.




 Account No.




 Sheet no. ___ of ___ continuation sheets attached to Schedule                                              Subtotals                           $                $
 of Creditors Holding Priority Claims                                                              (Totals of this page)

                                                                                                                Total                           $
                                                                            (Use only on last page of the completed
                                                                            Schedule E. Report also on the Summary
                                                                            of Schedules.)

                                                                                                                Totals                                           $                $
                                                                            (Use only on last page of the completed
                                                                            Schedule E. If applicable, report also on
                                                                            the Statistical Summary of Certain
                                                                            Liabilities and Related Data.)
                           Case 1-15-40586-nhl                      Doc 1       Filed 02/16/15              Entered 02/16/15 15:18:59
B 6F (Official Form 6F) (12/07)

                  Badalova, Nonna
In re __________________________________________,                                                           Case No. _________________________________
                        Debtor                                                                                                   (if known)

         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
    State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against
the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed.
R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

   If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital
community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

     If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.”
If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

    Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the
Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities
and Related Data..

    G Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                        HUSBAND, WIFE,

                                                         COMMUNITY




      CREDITOR’S NAME,                                                      DATE CLAIM WAS                                                                    AMOUNT OF




                                                                                                                                UNLIQUIDATED
                                                          JOINT, OR




                                                                                                                   CONTINGENT
                                             CODEBTOR




       MAILING ADDRESS                                                       INCURRED AND                                                                       CLAIM




                                                                                                                                               DISPUTED
     INCLUDING ZIP CODE,                                                  CONSIDERATION FOR
    AND ACCOUNT NUMBER                                                          CLAIM.
          (See   instructions above.)                                    IF CLAIM IS SUBJECT TO
                                                                            SETOFF, SO STATE.


  ACCOUNT NO. 7823
                                                                         Charge Card, Opened
                                                                         11/2013
  AMEX                                                                                                                                                           5,022.00
  PO Box 3001
  Malvern, PA 19355

  ACCOUNT NO. 2645                                                       Revolving Credit Card,
                                                                         Opened 11/2014
  CITI                                                                                                                                                           3,792.00
  PO Box 790040
  Saint Louis, MO 63179

  ACCOUNT NO. 8162                                                       Revolving Credit Card,
                                                                         Opened 8/2014
  CITI                                                                                                                                                           3,251.00
  PO Box 20363
  Kansas City, MO 64195
  ACCOUNT NO. 7562                                                       Revolving Credit Card,
                                                                         Opened 5/2013
  Syncb/Brooks Bros DC                                                                                                                                           2,820.00
  PO Box 965005
  Orlando, FL 32896
                                                                                                                                    Subtotal              $     14,885.00
    1
  _____continuation sheets attached                                                                                            Total                      $
                                                                                 (Use only on last page of the completed Schedule F.)
                                                             (Report also on Summary of Schedules and, if applicable, on the Statistical                      166,183.71
                                                                                   Summary of Certain Liabilities and Related Data.)
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B 6F (Official Form 6F) (12/07) - Cont.


       Badalova, Nonna
In re __________________________________________,                                                            Case No. _________________________________
                      Debtor                                                                                                   (if known)

         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                              (Continuation Sheet)




                                                         HUSBAND, WIFE,

                                                          COMMUNITY
      CREDITOR’S NAME,                                                       DATE CLAIM WAS                                                                   AMOUNT OF




                                                                                                                                UNLIQUIDATED
                                                                                                                   CONTINGENT
                                              CODEBTOR


                                                           JOINT, OR




                                                                                                                                               DISPUTED
       MAILING ADDRESS                                                        INCURRED AND                                                                      CLAIM
     INCLUDING ZIP CODE,                                                   CONSIDERATION FOR
    AND ACCOUNT NUMBER                                                           CLAIM.
          (See   instructions above.)                                     IF CLAIM IS SUBJECT TO
                                                                             SETOFF, SO STATE.


  ACCOUNT NO. 8695
                                                                          Revolving Credit Card,
                                                                          Opened 7/2013
  Syncb/TJX Cos                                                                                                                                                   1,682.00
  PO Box 965005
  Orlando, FL 32896

  ACCOUNT NO. 4695                                                        Revolving Credit Card,
                                                                          Opened 1/2007
  Syncb/Toysrusdc                                                                                                                                                  831.00
  PO Box 965005
  Orlando, FL 32896

  ACCOUNT NO. 0714                                                        Collection Account, Con
                                                                          Edison, Opened 7/2014
  Penn Credit Corporation                                                                                                                                          350.00
  916 S 14th Street
  Harrisburg, PA 17104
  ACCOUNT NO. 0390                                                        Revolving Credit Card,
                                                                          Opened 9/2013
  Sync/banarepdc                                                                                                                                                   317.00
  PO Box 965005
  Orlando, FL 32896
  ACCOUNT NO.                                                             Foreclosure Deficiency
                                                                          Judgment, NY Supreme
  Newman Law PC                                                           Court, Entered February                                                               148,118.71
  377 Pearsall Ave, Suite C                                               20, 2014
  Cedarhurst, NY 11516
              1 of______
  Sheet no.______       1    continuation sheets attached                                                                             Subtotal            $
  to Schedule of Creditors Holding Unsecured                                                                                                                    151,298.71
  Nonpriority Claims

                                                                                                                               Total                      $
                                                                                 (Use only on last page of the completed Schedule F.)                           166,183.71
                                                              (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                    Summary of Certain Liabilities and Related Data.)
         Case 1-15-40586-nhl                  Doc 1        Filed 02/16/15           Entered 02/16/15 15:18:59


B 6G (Official Form 6G) (12/07)

In re                 Badalova, Nonna                         ,                    Case No.
                     Debtor                                                                             (if known)


        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
        Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare
    interests. State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or
    lessee of a lease. Provide the names and complete mailing addresses of all other parties to each lease or contract described. If
    a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent
    or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and
    Fed. R. Bankr. P. 1007(m).

✔ Check this box if debtor has no executory contracts or unexpired leases.


         NAME AND MAILING ADDRESS,                                       DESCRIPTION OF CONTRACT OR LEASE AND
             INCLUDING ZIP CODE,                                          NATURE OF DEBTOR’S INTEREST. STATE
   OF OTHER PARTIES TO LEASE OR CONTRACT.                                WHETHER LEASE IS FOR NONRESIDENTIAL
                                                                            REAL PROPERTY. STATE CONTRACT
                                                                         NUMBER OF ANY GOVERNMENT CONTRACT.
                    Case 1-15-40586-nhl                Doc 1        Filed 02/16/15           Entered 02/16/15 15:18:59
B 6H (Official Form 6H) (12/07)

In re                Badalova, Nonna                      ,                                       Case No.
                       Debtor                                                                                              (if known)


                                                   SCHEDULE H - CODEBTORS
    Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the
debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight-year period immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of any
former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the
nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the
child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

✔ Check this box if debtor has no codebtors.

               NAME AND ADDRESS OF CODEBTOR                                               NAME AND ADDRESS OF CREDITOR
                          Case 1-15-40586-nhl              Doc 1         Filed 02/16/15             Entered 02/16/15 15:18:59


 Fill in this information to identify your case:

                    Nonna                                    Badalova
 Debtor 1           ___________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2            __________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


 United States Bankruptcy Court for the: ______________________
                                           Eastern District of New York District of __________

 Case number         ___________________________________________                                        Check if this is:
  (If known)
                                                                                                         An amended filing
                                                                                                         A supplement showing post-petition
                                                                                                           chapter 13 income as of the following date:
                                                                                                           02/16/2015
                                                                                                           ________________
Official Form %6I                                                                                         MM / DD / YYYY


Schedule I: Your Income                                                                                                                              12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                            Debtor 1                                     Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status               Employed                                       ✔
                                                                                                                          Employed
    employers.                                                           Not employed
                                                                        ✔                                                   Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation
                                                                        Full Time Student
                                                                       __________________________________            __________________________________
    Occupation may Include student
    or homemaker, if it applies.
                                         Employer’s name               __________________________________            __________________________________


                                         Employer’s address           _______________________________________       ________________________________________
                                                                       Number Street                                 Number    Street

                                                                      _______________________________________       ________________________________________

                                                                      _______________________________________       ________________________________________

                                                                      _______________________________________       ________________________________________
                                                                       City            State  ZIP Code                City                State ZIP Code

                                         How long employed there?            _______                                   _______

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                   For Debtor 1       For Debtor 2 or
                                                                                                                      non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.            2.
                                                                                                  $___________           $____________

 3. Estimate and list monthly overtime pay.                                                 3.   + $___________      +   $____________


 4. Calculate gross income. Add line 2 + line 3.                                            4.    $__________            $____________



Official Form %6I                                                 Schedule I: Your Income                                                       page 1
                        Case 1-15-40586-nhl                              Doc 1            Filed 02/16/15                  Entered 02/16/15 15:18:59

                 Nonna                                    Badalova
Debtor 1         _______________________________________________________                                                 Case number (if known)_____________________________________
                 First Name         Middle Name              Last Name



                                                                                                                        For Debtor 1         For Debtor 2 or
                                                                                                                                             non-filing spouse

   Copy line 4 here............................................................................................ Î 4.     $___________            $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                          5a.     $____________            $_____________
     5b. Mandatory contributions for retirement plans                                                           5b.     $____________            $_____________
     5c. Voluntary contributions for retirement plans                                                           5c.     $____________            $_____________
     5d. Required repayments of retirement fund loans                                                           5d.     $____________            $_____________
     5e. Insurance                                                                                              5e.     $____________            $_____________
     5f. Domestic support obligations                                                                           5f.     $____________            $_____________

     5g. Union dues                                                                                             5g.     $____________            $_____________

     5h. Other deductions. Specify: __________________________________                                          5h.    + $____________       +   $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                   6.     $____________            $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                          7.     $____________            $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total
                                                                                                                        $____________            $_____________
           monthly net income.                                                                                  8a.
     8b. Interest and dividends                                                                                 8b.     $____________            $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                           5,750.00
                                                                                                                        $____________            $_____________
           settlement, and property settlement.                                                                 8c.
     8d. Unemployment compensation                                                                              8d.     $____________            $_____________
     8e. Social Security                                                                                        8e.     $____________            $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental                                         $____________            $_____________
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.

     8g. Pension or retirement income                                                                           8g.     $____________            $_____________

     8h. Other monthly income. Specify: _______________________________                                         8h.    + $____________       + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                        9.        5,750.00
                                                                                                                        $____________            $_____________

10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                           5,750.00
                                                                                                                        $___________     +                            5,750.00
                                                                                                                                                 $_____________ = $_____________
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                   10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                  11.              0.00
                                                                                                                                                                     + $_____________
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                               12.
                                                                                                                                                                           5,750.00
                                                                                                                                                                       $_____________
                                                                                                                                                                       Combined
                                                                                                                                                                       monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     ✔
          No.
          Yes. Explain:         Clothing

Official Form %6I                                                                Schedule I: Your Income                                                                 page 2
                           Case 1-15-40586-nhl              Doc 1          Filed 02/16/15            Entered 02/16/15 15:18:59



  Fill in this information to identify your case:

  Debtor 1           Nonna                                    Badalova
                    __________________________________________________________________
                      First Name              Middle Name               Last Name                       Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name               Last Name
                                                                                                         An amended filing
                                                                                                         A supplement showing post-petition chapter 13
  United States Bankruptcy Court for the: ______________________
                                             Eastern District of New York District of __________
                                                                                                            expenses as of the following date:
                                                                                                            ________________
                                                                                                            02/16/2015
  Case number         ___________________________________________                                           MM / DD / YYYY
  (If known)
                                                                                                         A separate filing for Debtor 2 because Debtor 2
                                                                                                            maintains a separate household
Official Form %6J
Schedule J: Your Expenses                                                                                                                              12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
               ✔
                    No
                    Yes. Debtor 2 must file a separate Schedule J.

2. Do you have dependents?                     No                                   Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                 ✔
                                               Yes. Fill out this information for Debtor 1 or Debtor 2                       age           with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’                                                        Nicole Akovbyan                         8                No
                                                                                      _________________________               ________
   names.                                                                                                                                   
                                                                                                                                            ✔    Yes

                                                                                      _________________________               ________          No
                                                                                                                                                Yes

                                                                                      _________________________               ________          No
                                                                                                                                                Yes

                                                                                      _________________________               ________          No
                                                                                                                                                Yes

                                                                                      _________________________               ________          No
                                                                                                                                                Yes

3. Do your expenses include
   expenses of people other than
                                            
                                            ✔
                                                No
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value
of such assistance and have included it on Schedule I: Your Income (Official Form %6I.)                                         Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                    1,427.09
                                                                                                                                $_____________________
     any rent for the ground or lot.                                                                                    4.

     If not included in line 4:
     4a.    Real estate taxes                                                                                           4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                4b.     $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                               4c.     $_____________________
     4d.    Homeowner’s association or condominium dues                                                                 4d.     $_____________________

Official Form %6J                                             Schedule J: Your Expenses                                                           page 1
                        Case 1-15-40586-nhl                    Doc 1    Filed 02/16/15      Entered 02/16/15 15:18:59


                  Nonna                                    Badalova
 Debtor 1        _______________________________________________________                    Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                       Your expenses


 5. Additional mortgage payments for your residence, such as home equity loans                                 5.
                                                                                                                                  1,427.09
                                                                                                                      $_____________________


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                     6a.                  100.00
                                                                                                                      $_____________________
      6b.   Water, sewer, garbage collection                                                                   6b.    $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                     6c.                  200.00
                                                                                                                      $_____________________
      6d.   Other. Specify: _______________________________________________                                    6d.    $_____________________

 7. Food and housekeeping supplies                                                                             7.                 1,400.00
                                                                                                                      $_____________________

 8. Childcare and children’s education costs                                                                   8.                 1,500.00
                                                                                                                      $_____________________
 9. Clothing, laundry, and dry cleaning                                                                        9.     $_____________________
                                                                                                                                    200.00
10.   Personal care products and services                                                                      10.    $_____________________
                                                                                                                                    350.00
11.   Medical and dental expenses                                                                              11.    $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                    200.00
                                                                                                                      $_____________________
      Do not include car payments.                                                                             12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.                  300.00
                                                                                                                      $_____________________
14.   Charitable contributions and religious donations                                                         14.                  100.00
                                                                                                                      $_____________________

15.   Insurance.                                                                                                                                     1

      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                      15a.   $_____________________
      15b. Health insurance                                                                                    15b.   $_____________________
      15c. Vehicle insurance                                                                                   15c.   $_____________________
      15d. Other insurance. Specify:_______________________________________                                    15d.   $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                      $_____________________
      Specify: ________________________________________________________                                        16.

17.   Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                          17a.   $_____________________

      17b. Car payments for Vehicle 2                                                                          17b.   $_____________________

      17c. Other. Specify:_______________________________________________                                      17c.   $_____________________

      17d. Other. Specify:_______________________________________________                                      17d.   $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted
      fromyour pay on line 5, Schedule I, Your Income (Official Form %6I).                                    18.   $_____________________


19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                           19.   $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                         20a.   $_____________________

      20b. Real estate taxes                                                                                   20b.   $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                        20c.   $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                            20d.   $_____________________

      20e. Homeowner’s association or condominium dues                                                         20e.   $_____________________



 Official Form %6J                                             Schedule J: Your Expenses                                                   page 2
                        Case 1-15-40586-nhl                   Doc 1    Filed 02/16/15         Entered 02/16/15 15:18:59


                  Nonna                                    Badalova
 Debtor 1        _______________________________________________________                      Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




21.    Other. Specify: _________________________________________________                                         21.   +$_____________________

22.    Your monthly expenses. Add lines 4 through 21.                                                                               5,777.09
                                                                                                                        $_____________________
       The result is your monthly expenses.                                                                      22.




23. Calculate your monthly net income.
                                                                                                                                     5,750.00
                                                                                                                         $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                       23a.

      23b.   Copy your monthly expenses from line 22 above.                                                     23b.                 5,777.09
                                                                                                                       – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                       -22.09
                                                                                                                         $_____________________
             The result is your monthly net income.                                                             23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      
      ✔   No.
         Yes.     Explain here:




 Official Form %6J                                            Schedule J: Your Expenses                                                      page 3
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B6 Declaration (Official Form 6 - Declaration) (12/07)

                      Badalova, Nonna
               In re _________________________________________ ,                                                                          Case No. ______________________________
                                    Debtor                                                                                                                     (if known)




                              DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


                                                                                                            20 sheets, and that they are true and correct to the best of
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _____
my knowledge, information, and belief.


       02/16/2015
Date __________________________________                                                                                         /s/ Nonna Badalova
                                                                                                                    Signature: ________________________________________________
                                                                                                                                                       Debtor

Date __________________________________                                                                             Signature: ________________________________________________
                                                                                                                                                               (Joint Debtor, if any)

                                                                                                                          [If joint case, both spouses must sign.]

                                   -------------------------------------------------------------------------------------------------------------------------------------------
                             DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have provided
the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h) and 342(b); and, (3) if rules or guidelines have been
promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum
amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required by that section.

_____________________________________________________                                             _____________________________
Printed or Typed Name and Title, if any,                                                          Social Security No.
of Bankruptcy Petition Preparer                                                                   (Required by 11 U.S.C. § 110.)

If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
who signs this document.
_________________________________
_________________________________
_________________________________
Address

X _____________________________________________________                                                                         ____________________
 Signature of Bankruptcy Petition Preparer                                                                                      Date


Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
18 U.S.C. § 156.
   --------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------

                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


    I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of the
partnership ] of the ___________________________________ [corporation or partnership] named as debtor in this case, declare under penalty of perjury that I have
                                                         20 sheets (Total shown on summary page plus 1), and that they are true and correct to the best of my
read the foregoing summary and schedules, consisting of _____
knowledge, information, and belief.


Date ______________________________________
                                                                                                        Signature: _____________________________________________________________

                                                                                                                       ____________________________________________________________
                                                                                                                         [Print or type name of individual signing on behalf of debtor.]

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
 ----------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
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B 7 (Official Form 7) (04/10)

                         UNITED STATES BANKRUPTCY COURT
                                                __________ District of __________
                                                Eastern District of New York


       Badalova,
In re:_____       Nonna
            ___________________________________,                          Case No. ___________________________________
                        Debtor                                                                 (if known)




                                     STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional,
should provide the information requested on this statement concerning all such activities as well as the individual's personal
affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the
child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C.
§112 and Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
case number (if known), and the number of the question.


                                                             DEFINITIONS

           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more
of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or
self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor
engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary
employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of
5 percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders
of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.

______________________________________________________________________________________________________

       1.   Income from employment or operation of business

None        State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
            the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
            beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
            two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
            the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
            of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
            under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
            spouses are separated and a joint petition is not filed.)

                      AMOUNT                                                        SOURCE

                           $8,500.00          Approximate 2014 Income


                                               Year to Date Earnings
                           $1,400.00
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                                                                                                                                       2

         2.   Income other than from employment or operation of business

None     State the amount of income received by the debtor other than from employment, trade, profession, operation of the
✔        debtor's business during the two years immediately preceding the commencement of this case. Give particulars. If a
         joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
         must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
         petition is not filed.)

                   AMOUNT                                                                   SOURCE




_____________________________________________________________________________________________________
        3. Payments to creditors

         Complete a. or b., as appropriate, and c.
None
✔
G        a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
         goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
         this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
         Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or
         as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling
         agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
         whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

              NAME AND ADDRESS OF CREDITOR                   DATES OF            AMOUNT               AMOUNT
                                                             PAYMENTS            PAID                 STILL OWING




None
G        b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
         within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
         constitutes or is affected by such transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk
         (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
         repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors
         filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or
         not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

         NAME AND ADDRESS OF CREDITOR                             DATES OF                  AMOUNT              AMOUNT
                                                                  PAYMENTS/                 PAID OR             STILL
                                                                  TRANSFERS                 VALUE OF            OWING
                                                                                            TRANSFERS




         *
            Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or
after the date of adjustment.
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                                                                                                                                   3
None
✔
G      c. All debtors: List all payments made within one year immediately preceding the commencement of this case
       to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
       include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
       a joint petition is not filed.)

             NAME AND ADDRESS OF CREDITOR                 DATE OF              AMOUNT              AMOUNT
             AND RELATIONSHIP TO DEBTOR                   PAYMENT              PAID                STILL OWING




______________________________________________________________________________________________________


        4. Suits and administrative proceedings, executions, garnishments and attachments

None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
       preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
       information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
       and a joint petition is not filed.)

             CAPTION OF SUIT                                                   COURT OR AGENCY               STATUS OR
             AND CASE NUMBER               NATURE OF PROCEEDING                AND LOCATION                  DISPOSITION

  VC2L LLC v. Nonna Badalov                Foreclosure Judgment                 NY Supreme Court              Judgment
  654141/2013                                                                                                 Issued


None    b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one
✔       year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
        must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
        the spouses are separated and a joint petition is not filed.)

             NAME AND ADDRESS                                                                      DESCRIPTION
             OF PERSON FOR WHOSE                          DATE OF                                  AND VALUE
             BENEFIT PROPERTY WAS SEIZED                  SEIZURE                                  OF PROPERTY



_____________________________________________________________________________________________________

        5.   Repossessions, foreclosures and returns

None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
✔      of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                     DATE OF REPOSSESSION,                         DESCRIPTION
             NAME AND ADDRESS                        FORECLOSURE SALE,                             AND VALUE
             OF CREDITOR OR SELLER                   TRANSFER OR RETURN                            OF PROPERTY



______________________________________________________________________________________________________
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                                                                                                                                    4

        6.   Assignments and receiverships

None    a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
✔       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by
        either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
        filed.)

                                                                                                      TERMS OF
             NAME AND ADDRESS                          DATE OF                                        ASSIGNMENT
             OF ASSIGNEE                               ASSIGNMENT                                     OR SETTLEMENT




None    b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
✔       immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
        include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
        spouses are separated and a joint petition is not filed.)

                                            NAME AND LOCATION                                                   DESCRIPTION
             NAME AND ADDRESS               OF COURT                                       DATE OF              AND VALUE
             OF CUSTODIAN                   CASE TITLE & NUMBER                            ORDER                Of PROPERTY



______________________________________________________________________________________________________


        7.   Gifts

None    List all gifts or charitable contributions made within one year immediately preceding the commencement of this case
✔       except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
        and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
        chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
        the spouses are separated and a joint petition is not filed.)

        NAME AND ADDRESS                    RELATIONSHIP                                                        DESCRIPTION
        OF PERSON                           TO DEBTOR,                      DATE                                AND VALUE
        OR ORGANIZATION                     IF ANY                          OF GIFT                             OF GIFT



_____________________________________________________________________________________________________

        8.   Losses

None    List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
✔       of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
        include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
        joint petition is not filed.)

        DESCRIPTION                    DESCRIPTION OF CIRCUMSTANCES AND, IF
        AND VALUE OF                   LOSS WAS COVERED IN WHOLE OR IN PART                                     DATE
        PROPERTY                       BY INSURANCE, GIVE PARTICULARS                                           OF LOSS




______________________________________________________________________________________________________
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                                                                                                                                  5


        9.   Payments related to debt counseling or bankruptcy

None    List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
        consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
        within one year immediately preceding the commencement of this case.

                                                      DATE OF PAYMENT,                    AMOUNT OF MONEY OR
        NAME AND ADDRESS                              NAME OF PAYER IF                    DESCRIPTION AND
        OF PAYEE                                      OTHER THAN DEBTOR                   VALUE OF PROPERTY


 Leonard B. Sukherman, Esq. 3171                      2/13/2015                            $1,500.00
 Coney Island Ave, 11235

______________________________________________________________________________________________________
        10. Other transfers
None
✔        a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of
        the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
        this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
        whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

        NAME AND ADDRESS OF TRANSFEREE,                                         DESCRIBE PROPERTY
        RELATIONSHIP TO DEBTOR                                                  TRANSFERRED AND
                                                                 DATE           VALUE RECEIVED


None
✔
G       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
        to a self-settled trust or similar device of which the debtor is a beneficiary.

        NAME OF TRUST OR OTHER                        DATE(S) OF                AMOUNT OF MONEY OR DESCRIPTION
        DEVICE                                        TRANSFER(S)               AND VALUE OF PROPERTY OR DEBTOR’S
                                                                                INTEREST IN PROPERTY


______________________________________________________________________________________________________

        11. Closed financial accounts

None    List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
✔       closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include
        checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts
        held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
        institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
        instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are
        separated and a joint petition is not filed.)

                                            TYPE OF ACCOUNT, LAST FOUR                               AMOUNT AND
        NAME AND ADDRESS                    DIGITS OF ACCOUNT NUMBER,                                DATE OF SALE
        OF INSTITUTION                      AND AMOUNT OF FINAL BALANCE                              OR CLOSING




______________________________________________________________________________________________________
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                                                                                                                                   6

        12. Safe deposit boxes

None    List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
✔       within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
        chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
        the spouses are separated and a joint petition is not filed.)

        NAME AND ADDRESS                   NAMES AND ADDRESSES                 DESCRIPTION          DATE OF TRANSFER
        OF BANK OR                         OF THOSE WITH ACCESS                OF                   OR SURRENDER,
        OTHER DEPOSITORY                   TO BOX OR DEPOSITORY                CONTENTS             IF ANY



______________________________________________________________________________________________________

        13. Setoffs

None    List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
✔       the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
        concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
        petition is not filed.)

                                                                     DATE OF                   AMOUNT
        NAME AND ADDRESS OF CREDITOR                                 SETOFF                    OF SETOFF



_____________________________________________________________________________________________________

            14. Property held for another person

None    List all property owned by another person that the debtor holds or controls.
✔

        NAME AND ADDRESS                         DESCRIPTION AND
        OF OWNER                                 VALUE OF PROPERTY                                  LOCATION OF PROPERTY




_____________________________________________________________________________________________________

        15. Prior address of debtor

None
✔
G       If debtor has moved within three years immediately preceding the commencement of this case, list all premises
        which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is
        filed, report also any separate address of either spouse.

        ADDRESS                                  NAME USED                             DATES OF OCCUPANCY




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                                                                                                                                   7


        16. Spouses and Former Spouses

None    If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
✔       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight
        years immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
        any former spouse who resides or resided with the debtor in the community property state.

        NAME


______________________________________________________________________________________________________
        17. Environmental Information.

        For the purpose of this question, the following definitions apply:

        "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
        releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
        other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
        or material.

        "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
        formerly owned or operated by the debtor, including, but not limited to, disposal sites.

        "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
        material, pollutant, or contaminant or similar term under an Environmental Law.


None    a. List the name and address of every site for which the debtor has received notice in writing by a governmental
✔       unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
        governmental unit, the date of the notice, and, if known, the Environmental Law:

            SITE NAME                 NAME AND ADDRESS                         DATE OF              ENVIRONMENTAL
            AND ADDRESS               OF GOVERNMENTAL UNIT                     NOTICE               LAW




None    b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release
✔       of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

            SITE NAME                 NAME AND ADDRESS                         DATE OF         ENVIRONMENTAL
            AND ADDRESS               OF GOVERNMENTAL UNIT                     NOTICE          LAW




None    c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
✔       respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
        to the proceeding, and the docket number.

            NAME AND ADDRESS                          DOCKET NUMBER                       STATUS OR
            OF GOVERNMENTAL UNIT                                                          DISPOSITION


______________________________________________________________________________________________________

        18 . Nature, location and name of business

None    a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
✔       and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
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                                                                                                                                      8

          executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
          other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
          which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding
          the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
               and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
               the voting or equity securities, within six years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
               and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
               the voting or equity securities within six years immediately preceding the commencement of this case.

                               LAST FOUR DIGITS
                               OF SOCIAL-SECURITY                                                                  BEGINNING AND
               NAME            OR OTHER INDIVIDUAL                  ADDRESS        NATURE OF BUSINESS              ENDING DATES
                               TAXPAYER-I.D. NO.
                               (ITIN)/ COMPLETE EIN




None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as
✔         defined in 11 U.S.C. § 101.

               NAME                                      ADDRESS



______________________________________________________________________________________________________

           The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
debtor who is or has been, within six years immediately preceding the commencement of this case, any of the following: an
officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed in a trade, profession, or other activity,
either full- or part-time.

          (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in
business, as defined above, within six years immediately preceding the commencement of this case. A debtor who has not been
in business within those six years should go directly to the signature page.)

_____________________________________________________________________________________________________


          19. Books, records and financial statements

None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this
✔         bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

               NAME AND ADDRESS                                                               DATES SERVICES RENDERED




None      b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy
✔         case have audited the books of account and records, or prepared a financial statement of the debtor.

               NAME                                      ADDRESS                              DATES SERVICES RENDERED
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                                                                                                                               9

None   c. List all firms or individuals who at the time of the commencement of this case were in possession of the
✔      books of account and records of the debtor. If any of the books of account and records are not available, explain.

            NAME                                                                         ADDRESS




None    d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
✔       financial statement was issued by the debtor within two years immediately preceding the commencement of this case.

                  NAME AND ADDRESS                                                            DATE ISSUED



________________________________________________________________________________________________

        20. Inventories

None    a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
✔       taking of each inventory, and the dollar amount and basis of each inventory.

                                                                                              DOLLAR AMOUNT
                                                                                              OF INVENTORY
                  DATE OF INVENTORY               INVENTORY SUPERVISOR                        (Specify cost, market or other
                                                                                              basis)




None    b. List the name and address of the person having possession of the records of each of the inventories reported
✔       in a., above.

                                                                                              NAME AND ADDRESSES
                                                                                              OF CUSTODIAN
                  DATE OF INVENTORY                                                           OF INVENTORY RECORDS



____________________________________________________________________________________________________

        21 . Current Partners, Officers, Directors and Shareholders

None        a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
✔           partnership.

            NAME AND ADDRESS                         NATURE OF INTEREST              PERCENTAGE OF INTEREST




None        b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
✔           directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the
            corporation.
                                                                                       NATURE AND PERCENTAGE
                 NAME AND ADDRESS                                TITLE                    OF STOCK OWNERSHIP




__________________________________________________________________________________________________
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                                                                                                                                10

        22 . Former partners, officers, directors and shareholders

None    a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
✔       preceding the commencement of this case.

            NAME                                           ADDRESS                    DATE OF WITHDRAWAL




None    b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
✔       within one year immediately preceding the commencement of this case.

                  NAME AND ADDRESS                              TITLE                          DATE OF TERMINATION



___________________________________________________________________________________________________

        23 . Withdrawals from a partnership or distributions by a corporation

None    If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider,
✔       including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite
        during one year immediately preceding the commencement of this case.

                  NAME & ADDRESS                                                          AMOUNT OF MONEY
                  OF RECIPIENT,                            DATE AND PURPOSE               OR DESCRIPTION
                  RELATIONSHIP TO DEBTOR                   OF WITHDRAWAL                  AND VALUE OF PROPERTY




___________________________________________________________________

        24. Tax Consolidation Group.

None    If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any
✔       consolidated group for tax purposes of which the debtor has been a member at any time within six years
        immediately preceding the commencement of the case.

            NAME OF PARENT CORPORATION                     TAXPAYER-IDENTIFICATION NUMBER (EIN)



_____________________________________________________________________________________________________

        25. Pension Funds.

None    If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to
✔       which the debtor, as an employer, has been responsible for contributing at any time within six years immediately
        preceding the commencement of the case.

            NAME OF PENSION FUND                      TAXPAYER-IDENTIFICATION NUMBER (EIN)




                                                        * * * * * *
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                                                                                                                                                            11

            [If completed by an individual or individual and spouse]

            I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs
            and any attachments thereto and that they are true and correct.


                                                                                    Signature
             Date       02/16/2015                                                  of Debtor             /s/ Nonna Badalova

                                                                                    Signature of
                                                                                    Joint Debtor
             Date                                                                    (if any)


____________________________________________________________________________
            [If completed on behalf of a partnership or corporation]

            I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
            thereto and that they are true and correct to the best of my knowledge, information and belief.



             Date                                                                   Signature

                                                                                    Print Name and
                                                                                    Title

                       [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]



                                                                 ___continuation sheets attached

                 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571
___________________________________________________________________________________________________

            DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h), and
342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy
petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from
the debtor, as required by that section.




  Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                 Social-Security No. (Required by 11 U.S.C. § 110.)

If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social-security number of the officer, principal,
responsible person, or partner who signs this document.




  Address



  Signature of Bankruptcy Petition Preparer                                                Date

Names and Social-Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in
fines or imprisonment or both. 18 U.S.C. § 156.
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B 22A (Official Form 22A) (Chapter 7) (04/10)


                 Badalova, Nonna
  In re ______________________________                              According to the information required to be entered on this statement
                  Debtor(s)                                         (check one box as directed in Part I, III, or VI of this statement):
                                                                              The presumption arises.
  Case Number: __________________                                           ✔The presumption does not arise.
                 (If known)
                                                                              The presumption is temporarily inapplicable.

                            CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                      AND MEANS-TEST CALCULATION
  In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor, whether or not filing
  jointly. Unless the exclusion in Line 1C applies, joint debtors may complete a single statement. If the exclusion in Line 1C
  applies, each joint filer must complete a separate statement.


                                     Part I. MILITARY AND NON-CONSUMER DEBTORS

           Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part IA, (1) check the box at the
           beginning of the Declaration, (2) check the box for “The presumption does not arise” at the top of this statement, and (3)
           complete the verification in Part VIII. Do not complete any of the remaining parts of this statement.
   1A
               Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled
           veteran (as defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on
           active duty (as defined in 10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32
           U.S.C. §901(1)).

           Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the
           verification in Part VIII. Do not complete any of the remaining parts of this statement.
    1B
               Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.

           Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component
           of the Armed Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C.
           § 101(d)(1)) after September 11, 2001, for a period of at least 90 days, or who have performed homeland defense activity
           (as defined in 32 U.S.C. § 901(1)) for a period of at least 90 days, are excluded from all forms of means testing during the
           time of active duty or homeland defense activity and for 540 days thereafter (the “exclusion period”). If you qualify for
           this temporary exclusion, (1) check the appropriate boxes and complete any required information in the Declaration of
           Reservists and National Guard Members below, (2) check the box for “The presumption is temporarily inapplicable” at the
           top of this statement, and (3) complete the verification in Part VIII. During your exclusion period you are not required
           to complete the balance of this form, but you must complete the form no later than 14 days after the date on which
           your exclusion period ends, unless the time for filing a motion raising the means test presumption expires in your
           case before your exclusion period ends.

              Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries
    1C     below, I declare that I am eligible for a temporary exclusion from means testing because, as a member of a reserve
           component of the Armed Forces or the National Guard


                                a.    I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                             I remain on active duty /or/
                                             I was released from active duty on ________________, which is less than 540 days before
                                this bankruptcy case was filed;
                                           OR
                                b.      I am performing homeland defense activity for a period of at least 90 days /or/
                                        I performed homeland defense activity for a period of at least 90 days, terminating on
                                     _______________, which is less than 540 days before this bankruptcy case was filed.
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                  Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
           Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
           a. ✔ Unmarried. Complete only Column A (“Debtor’s Income”) for Lines 3-11.
           b.     Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
                penalty of perjury: “My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I
     2          are living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code.”
                Complete only Column A (“Debtor’s Income”) for Lines 3-11.
           c.    Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both
                Column A (“Debtor’s Income”) and Column B (“Spouse’s Income”) for Lines 3-11.
           d.     Married, filing jointly. Complete both Column A (“Debtor’s Income”) and Column B (“Spouse’s Income”) for
                Lines 3-11.
           All figures must reflect average monthly income received from all sources, derived during           Column A      Column B
           the six calendar months prior to filing the bankruptcy case, ending on the last day of the           Debtor’s      Spouse’s
           month before the filing. If the amount of monthly income varied during the six months, you           Income        Income
           must divide the six-month total by six, and enter the result on the appropriate line.
     3     Gross wages, salary, tips, bonuses, overtime, commissions.                                      $       0.00   $
           Income from the operation of a business, profession or farm. Subtract Line b from Line a
           and enter the difference in the appropriate column(s) of Line 4. If you operate more than one
           business, profession or farm, enter aggregate numbers and provide details on an attachment.
           Do not enter a number less than zero. Do not include any part of the business expenses
           entered on Line b as a deduction in Part V.
     4
             a.      Gross receipts                                  $
             b.      Ordinary and necessary business expenses        $
             c.      Business income                                 Subtract Line b from Line a
                                                                                                           $              $
           Rent and other real property income. Subtract Line b from Line a and enter the difference
           in the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include
           any part of the operating expenses entered on Line b as a deduction in Part V.
     5       a.      Gross receipts                                  $
             b.      Ordinary and necessary operating expenses       $
             c.      Rent and other real property income             Subtract Line b from Line a
                                                                                                           $              $
     6     Interest, dividends and royalties.                                                              $              $
     7     Pension and retirement income.                                                                  $              $
           Any amounts paid by another person or entity, on a regular basis, for the household
           expenses of the debtor or the debtor’s dependents, including child support paid for that
     8
           purpose. Do not include alimony or separate maintenance payments or amounts paid by
           your spouse if Column B is completed.                                                       $ 5,750.00         $
           Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
           However, if you contend that unemployment compensation received by you or your spouse
           was a benefit under the Social Security Act, do not list the amount of such compensation in
     9     Column A or B, but instead state the amount in the space below:
            Unemployment compensation claimed to
            be a benefit under the Social Security Act     Debtor $ ________   Spouse $ _________
                                                                                                           $              $
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B 22A (Official Form 22A) (Chapter 7) (04/10)                                                                                                 3
           Income from all other sources. Specify source and amount. If necessary, list additional
           sources on a separate page. Do not include alimony or separate maintenance payments
           paid by your spouse if Column B is completed, but include all other payments of
           alimony or separate maintenance. Do not include any benefits received under the Social
           Security Act or payments received as a victim of a war crime, crime against humanity, or as a
    10     victim of international or domestic terrorism.
             a.                                                                          $
             b.                                                                          $
             Total and enter on Line 10                                                                        $              $
           Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A,
    11
           and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).              $   5,750.00   $
           Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add
    12     Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been
           completed, enter the amount from Line 11, Column A.                                                 $                       0.00

                                     Part III. APPLICATION OF § 707(b)(7) EXCLUSION
    13     Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number
           12 and enter the result.                                                                                           $ 69,000.00
           Applicable median family income. Enter the median family income for the applicable state and household
           size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the
    14
           bankruptcy court.)
                                                  NY
           a. Enter debtor’s state of residence: _______________                                           2
                                                                 b. Enter debtor’s household size: __________                 $ 60,743.00
           Application of Section 707(b)(7). Check the applicable box and proceed as directed.
    15      ✔ The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for “The presumption does
                  not arise” at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.
                  The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.

                  Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)

                  Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
    16     Enter the amount from Line 12.                                                                                     $        0.00
           Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in
           Line 11, Column B that was NOT paid on a regular basis for the household expenses of the debtor or the
           debtor’s dependents. Specify in the lines below the basis for excluding the Column B income (such as
           payment of the spouse’s tax liability or the spouse’s support of persons other than the debtor or the debtor’s
           dependents) and the amount of income devoted to each purpose. If necessary, list additional adjustments on
    17     a separate page. If you did not check box at Line 2.c, enter zero.
             a.                                                                          $
             b.                                                                          $
             c.                                                                          $
             Total and enter on Line 17.                                                                                      $

    18     Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                        $   5,750.00

                               Part V. CALCULATION OF DEDUCTIONS FROM INCOME

                     Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
      National Standards: food, clothing and other items. Enter in Line 19A the “Total” amount from IRS
  19A National Standards for Food, Clothing and Other Items for the applicable household size. (This information
      is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                          $   1,092.00
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B 22A (Official Form 22A) (Chapter 7) (04/10)                                                                                            4
      National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for Out-
      of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for Out-
      of-Pocket Health Care for persons 65 years of age or older. (This information is available at
      www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the number of members of
      your household who are under 65 years of age, and enter in Line b2 the number of members of your
      household who are 65 years of age or older. (The total number of household members must be the same as
      the number stated in Line 14b.) Multiply Line a1 by Line b1 to obtain a total amount for household members
      under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for household
  19B members 65 and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care
      amount, and enter the result in Line 19B.
            Household members under 65 years of age                Household members 65 years of age or older
            a1.     Allowance per member                  60.00    a2.    Allowance per member
            b1.     Number of members                          2   b2.    Number of members
            c1.     Subtotal                             120.00    c2.    Subtotal                                          $ 120.00
      Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
  20A Utilities Standards; non-mortgage expenses for the applicable county and household size. (This information
      is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).                             $              706.00

          Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the
          IRS Housing and Utilities Standards; mortgage/rent expense for your county and household size (this
          information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the
          total of the Average Monthly Payments for any debts secured by your home, as stated in Line 42; subtract
          Line b from Line a and enter the result in Line 20B. Do not enter an amount less than zero.
  20B
            a.      IRS Housing and Utilities Standards; mortgage/rental expense      $                      2,075.00

            b.      Average Monthly Payment for any debts secured by your home,
                    if any, as stated in Line 42                                      $                          0.00

            c.      Net mortgage/rental expense                                       Subtract Line b from Line a.          $ 2,075.00
          Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A
          and 20B does not accurately compute the allowance to which you are entitled under the IRS Housing and
          Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis for
   21     your contention in the space below:
          _______________________________________________________________________________________
          _______________________________________________________________________________________
          _______________________________________________________________________________________                           $
          Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to
          an expense allowance in this category regardless of whether you pay the expenses of operating a vehicle and
          regardless of whether you use public transportation.
      Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
      are included as a contribution to your household expenses in Line 8.
  22A     0 ✔1          2 or more.
      If you checked 0, enter on Line 22A the “Public Transportation” amount from IRS Local Standards:
      Transportation. If you checked 1 or 2 or more, enter on Line 22A the “Operating Costs” amount from IRS
      Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
      Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of
      the bankruptcy court.)                                                                                                $   278.00

      Local Standards: transportation; additional public transportation expense. If you pay the operating
      expenses for a vehicle and also use public transportation, and you contend that you are entitled to an
  22B additional deduction for your public transportation expenses, enter on Line 22B the “Public Transportation”
      amount from IRS Local Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from
      the clerk of the bankruptcy court.)                                                                                   $   184.00
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B 22A (Official Form 22A) (Chapter 7) (04/10)                                                                                              5
          Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
          which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than
          two vehicles.)
             1       2 or more.
          Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
          (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
   23     Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from
          Line a and enter the result in Line 23. Do not enter an amount less than zero.
            a.      IRS Transportation Standards, Ownership Costs                      $
            b.      Average Monthly Payment for any debts secured by Vehicle 1,
                    as stated in Line 42                                               $
            c.      Net ownership/lease expense for Vehicle 1                          Subtract Line b from Line a.         $
          Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you
          checked the “2 or more” Box in Line 23.
          Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
          (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
          Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from
   24     Line a and enter the result in Line 24. Do not enter an amount less than zero.
            a.      IRS Transportation Standards, Ownership Costs                      $
            b.      Average Monthly Payment for any debts secured by Vehicle 2,
                    as stated in Line 42                                               $
            c.      Net ownership/lease expense for Vehicle 2                          Subtract Line b from Line a.         $
          Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
   25     federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self-employment
          taxes, social-security taxes, and Medicare taxes. Do not include real estate or sales taxes.                      $
          Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
   26     payroll deductions that are required for your employment, such as retirement contributions, union dues, and
          uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.
                                                                                                                            $
          Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for
   27     term life insurance for yourself. Do not include premiums for insurance on your dependents, for whole
          life or for any other form of insurance.                                                                    $
          Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
   28     required to pay pursuant to the order of a court or administrative agency, such as spousal or child support
          payments. Do not include payments on past due obligations included in Line 44.                              $
          Other Necessary Expenses: education for employment or for a physically or mentally challenged child.
          Enter the total average monthly amount that you actually expend for education that is a condition of
   29
          employment and for education that is required for a physically or mentally challenged dependent child for
          whom no public education providing similar services is available.                                                 $   1500
          Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
   30     childcare—such as baby-sitting, day care, nursery and preschool. Do not include other educational
          payments.                                                                                                         $
          Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend
          on health care that is required for the health and welfare of yourself or your dependents, that is not
   31
          reimbursed by insurance or paid by a health savings account, and that is in excess of the amount entered in
          Line 19B. Do not include payments for health insurance or health savings accounts listed in Line 34.              $
          Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
          actually pay for telecommunication services other than your basic home telephone and cell phone service—
   32
          such as pagers, call waiting, caller id, special long distance, or internet service—to the extent necessary for
          your health and welfare or that of your dependents. Do not include any amount previously deducted.                $   200
   33     Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.                               $   6,155.00
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B 22A (Official Form 22A) (Chapter 7) (04/10)                                                                                                      6

                                    Subpart B: Additional Living Expense Deductions
                           Note: Do not include any expenses that you have listed in Lines 19-32
          Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly
          expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse,
          or your dependents.
            a.        Health Insurance                                                   $
   34       b.        Disability Insurance                                               $
            c.        Health Savings Account                                             $


          Total and enter on Line 34                                                                                               $
          If you do not actually expend this total amount, state your actual total average monthly expenditures in the
          space below:
          $ ____________
          Continued contributions to the care of household or family members. Enter the total average actual
          monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
   35
          elderly, chronically ill, or disabled member of your household or member of your immediate family who is
          unable to pay for such expenses.                                                                                         $
          Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
          actually incurred to maintain the safety of your family under the Family Violence Prevention and Services
   36
          Act or other applicable federal law. The nature of these expenses is required to be kept confidential by the
          court.                                                                                                                   $
          Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS
          Local Standards for Housing and Utilities, that you actually expend for home energy costs. You must
   37
          provide your case trustee with documentation of your actual expenses, and you must demonstrate that
          the additional amount claimed is reasonable and necessary.                                                               $
          Education expenses for dependent children less than 18. Enter the total average monthly expenses that
          you actually incur, not to exceed $147.92* per child, for attendance at a private or public elementary or
   38     secondary school by your dependent children less than 18 years of age. You must provide your case trustee
          with documentation of your actual expenses, and you must explain why the amount claimed is
          reasonable and necessary and not already accounted for in the IRS Standards.                              $
          Additional food and clothing expense. Enter the total average monthly amount by which your food and
          clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS
   39     National Standards, not to exceed 5% of those combined allowances. (This information is available at
          www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate that the additional
          amount claimed is reasonable and necessary.                                                                              $
          Continued charitable contributions. Enter the amount that you will continue to contribute in the form of
   40
          cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                      $


   41     Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40
                                                                                                                                   $        0.00
*Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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B 22A (Official Form 22A) (Chapter 7) (04/10)                                                                                            7


                                                Subpart C: Deductions for Debt Payment
           Future payments on secured claims. For each of your debts that is secured by an interest in property that
           you own, list the name of the creditor, identify the property securing the debt, state the Average Monthly
           Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is the
           total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months following the
           filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter
           the total of the Average Monthly Payments on Line 42.
                          Name of                 Property Securing the Debt             Average       Does payment
    42                    Creditor                                                       Monthly       include taxes
                                                                                         Payment       or insurance?
             a.                                                                  $                         yes     no
             b.                                                                  $                         yes     no
             c.                                                                  $                         yes     no
                                                                                 Total: Add
                                                                                 Lines a, b and c.                          $
           Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary
           residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
           you may include in your deduction 1/60th of any amount (the “cure amount”) that you must pay the creditor
           in addition to the payments listed in Line 42, in order to maintain possession of the property. The cure
           amount would include any sums in default that must be paid in order to avoid repossession or foreclosure.
           List and total any such amounts in the following chart. If necessary, list additional entries on a separate
           page.
    43                  Name of                Property Securing the Debt            1/60th of the Cure Amount
                         Creditor
             a.                                                                      $
             b.                                                                      $
             c.                                                                      $

                                                                                     Total: Add Lines a, b and c            $
           Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such
    44     as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy
           filing. Do not include current obligations, such as those set out in Line 28.                                $
           Chapter 13 administrative expenses. If you are eligible to file a case under chapter 13, complete the
           following chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative
           expense.
             a.      Projected average monthly chapter 13 plan payment.                            $
    45       b.      Current multiplier for your district as determined under schedules issued
                     by the Executive Office for United States Trustees. (This information is
                     available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
                     court.)                                                                       x
             c.      Average monthly administrative expense of chapter 13 case                     Total: Multiply Lines
                                                                                                   a and b                  $
    46     Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                       $     0.00

                                                Subpart D: Total Deductions from Income
    47     Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                      $ 6,155.00
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B 22A (Official Form 22A) (Chapter 7) (04/10)                                                                                                       8



                                Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
    48     Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                  $    5,750.00
    49     Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                       $    6,155.00
    50     Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result                         $         0.00

    51     60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and
           enter the result.                                                                                                       $         0.00
           Initial presumption determination. Check the applicable box and proceed as directed.
            ✔ The amount on Line 51 is less than $7,025* Check the box for “The presumption does not arise” at the top of page 1
                   of this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
    52            The amount set forth on Line 51 is more than $11,725*. Check the box for “The presumption arises” at the top of
                   page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete
                   the remainder of Part VI.
                  The amount on Line 51 is at least $7,025*, but not more than $11,725*. Complete the remainder of Part VI (Lines
                   53 through 55).
    53     Enter the amount of your total non-priority unsecured debt                                                              $
    54     Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result. $
           Secondary presumption determination. Check the applicable box and proceed as directed.
                  The amount on Line 51 is less than the amount on Line 54. Check the box for “The presumption does not arise” at
    55             the top of page 1 of this statement, and complete the verification in Part VIII.
                  The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for “The presumption
                   arises” at the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part
                   VII.

                                            Part VII: ADDITIONAL EXPENSE CLAIMS
           Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
           and welfare of you and your family and that you contend should be an additional deduction from your current monthly
           income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your
           average monthly expense for each item. Total the expenses.

    56                                          Expense Description                                          Monthly Amount
             a.                                                                                      $
             b.                                                                                      $
             c.                                                                                      $
                                                                 Total: Add Lines a, b and c         $

                                                      Part VIII: VERIFICATION
           I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case,
           both debtors must sign.)

    57                    Date: _________________
                                    02/16/2015                                      Signature: ________________________
                                                                                               /s/ Nonna Badalova
                                                                                                               (Debtor)
                          Date: _________________                                   Signature: ________________________
                                                                                                         (Joint Debtor, if any)



*Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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B 8 (Official Form 8) (12/08)


                                UNITED STATES BANKRUPTCY COURT
                                      __________
                                      Eastern       District
                                              District of Newof York
                                                                __________
      Badalova, Nonna
In re ____________________________,                                          Case No. ___________________
                      Debtor                                                             Chapter 7

             CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
PART A – Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is
secured by property of the estate. Attach additional pages if necessary.)

 Property No. 1

 Creditor's Name:                                        Describe Property Securing Debt:



 Property will be (check one):
     u Surrendered                          u Retained

 If retaining the property, I intend to (check at least one):
       u Redeem the property
       u Reaffirm the debt
       u Other. Explain ________________________________ (for example, avoid lien
 using 11 U.S.C. § 522(f)).


 Property is (check one):
     u Claimed as exempt                              u Not claimed as exempt

 Property No. 2 (if necessary)

 Creditor's Name:                                        Describe Property Securing Debt:



 Property will be (check one):
     u Surrendered                          u Retained

 If retaining the property, I intend to (check at least one):
       u Redeem the property
       u Reaffirm the debt
       u Other. Explain ________________________________ (for example, avoid lien
 using 11 U.S.C. § 522(f)).


 Property is (check one):
     u Claimed as exempt                              u Not claimed as exempt
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B 8 (Official Form 8) (12/08)                                                                                Page 2

PART B – Personal property subject to unexpired leases. (All three columns of Part B must be completed for
each unexpired lease. Attach additional pages if necessary.)

 Property No. 1

 Lessor’s Name:                              Describe Leased Property:      Lease will be Assumed pursuant
                                                                            to 11 U.S.C. § 365(p)(2):
                                                                            u YES            u NO

 Property No. 2 (if necessary)

 Lessor’s Name:                              Describe Leased Property:      Lease will be Assumed pursuant
                                                                            to 11 U.S.C. § 365(p)(2):
                                                                            u YES           u NO

 Property No. 3 (if necessary)

 Lessor’s Name:                              Describe Leased Property:      Lease will be Assumed pursuant
                                                                            to 11 U.S.C. § 365(p)(2):
                                                                            u YES           u NO

_____ continuation sheets attached (if any)

I declare under penalty of perjury that the above indicates my intention as to any property of my
estate securing a debt and/or personal property subject to an unexpired lease.




Date: 02/16/2015
      ____________________                  /s/ Nonna Badalova
                                            ___________________________________________
                                            Signature of Debtor


                                            ___________________________________________
                                            Signature of Joint Debtor
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B 8 (Official Form 8) (12/08)                                                                          Page 3

             CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                            (Continuation Sheet)

PART A - Continuation

 Property No.

 Creditor's Name:                                      Describe Property Securing Debt:



 Property will be (check one):
     u Surrendered                    u Retained

 If retaining the property, I intend to (check at least one):
       u Redeem the property
       u Reaffirm the debt
       u Other. Explain ________________________________ (for example, avoid lien
 using 11 U.S.C. § 522(f)).


 Property is (check one):
     u Claimed as exempt                            u Not claimed as exempt


PART B - Continuation

 Property No.

 Lessor’s Name:                      Describe Leased Property:        Lease will be Assumed pursuant
                                                                      to 11 U.S.C. § 365(p)(2):
                                                                      u YES           u NO

 Property No.

 Lessor’s Name:                      Describe Leased Property:        Lease will be Assumed pursuant
                                                                      to 11 U.S.C. § 365(p)(2):
                                                                      u YES           u NO
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B 201B (Form 201B) (12/09)


                                UNITED STATES BANKRUPTCY COURT
                                                   Eastern District
                                                __________          of New
                                                             District      York
                                                                       Of __________

In re ___________________________________
                  Badalova, Nonna                                                   Case No. _______________
                    Debtor
                                                                                    Chapter ________________
                                                                                                    7



                             CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                 UNDER § 342(b) OF THE BANKRUPTCY CODE


                                  Certification of [Non-Attorney] Bankruptcy Petition Preparer
         I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the
attached notice, as required by § 342(b) of the Bankruptcy Code.

_____________________________________________                                       _______________________________________
Printed name and title, if any, of Bankruptcy Petition Preparer                     Social Security number (If the bankruptcy petition
Address:                                                                            preparer is not an individual, state the Social Security
                                                                                    number of the officer, principal, responsible person, or
                                                                                    partner of the bankruptcy petition preparer.) (Required
X_______________________________________________                                    by 11 U.S.C. § 110.)

Signature of Bankruptcy Petition Preparer or officer,
principal, responsible person, or partner whose Social
Security number is provided above.



                                                         Certification of the Debtor
         I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.

_________________________________________
 Badalova, Nonna                                                          X______________________________________________
                                                                            /s/ Nonna Badalova                 02/16/2015
Printed Name(s) of Debtor(s)                                              Signature of Debtor                  Date

Case No. (if known) ________________________                              X______________________________________________
                                                                          Signature of Joint Debtor (if any)  Date


___________________________________________________________________________________________________

Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the
debtor’s attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy
petition preparers on page 3 of Form B1 also include this certification.
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B 203
(12/94)


                              United States Bankruptcy Court
                                       Eastern District Of _______________
                              _______________              New York


In re

                   Badalova, Nonna                                                        Case No. ___________

Debtor                                                                                    Chapter _________                 7


               DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the atto rn ey for the above-
   named debtor(s) and that compensation paid to me w ithin one year before the filing of the petition in
   bankruptcy, o r agreed to be paid to me, fo r services rendered or to be rendered on behalf o f the debto r(s)
   in contemplation of or in connection w ith the bankruptcy case is as follow s:

     For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________      1500
     Prior to the fi ling of this statem ent I have recei ved . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________     1500
                                                                                                                                                  0
     Balance D ue . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

2. The source of the compensati on paid to me w as:

             ✔ D ebtor                           O ther (specify)

3. The source of compensati on to be paid to me is:

             ✔ D ebtor                           O ther (specify)

4.        I have not agreed to share the above-disclosed compensation w ith any other person unl ess they are
          members and associates of my law firm.

          I have agreed to share the above-disclosed compensation w ith a other person or persons w ho are not
          members or associates of my law firm. A copy of the agreement, together w ith a list of the names of
          the people sharing in the compensation, is attached.

5. In return for the above-di sclo sed fee, I have agreed to render legal service for all aspects of the bankruptcy
   case, incl uding:

     a. Analysis of the debtor' s fi nancial situati on, and renderi ng advice to the debtor i n determining w hether
        to file a petiti on in bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan w hich may be required;

     c. Representati on of the debtor at the meeti ng of cred itors and confi rm ati on heari ng, and any adj ourn ed
        hearings thereof;
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   DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR (Continued)


   d. Representation of the debtor in adversary proceedin gs and other contested bankruptcy matters;

   e. [Other provisions as needed]




6. By agreem ent w ith the debtor(s), the above-discl osed fee does not i ncl ude the follow ing services:




                                                 CERTIFICATIO N



         I certify that the foregoing is a complete statement of any agreement or arrangement for
      paym ent to me for representati on of the debtor(s) in this bankru ptcy p ro ceedings.


     02/16/2015                              /s/Leonard B Sukherman
      ___________________________            ___________________________________________________
                Date                                           Signature of Attorney


                                                 Leonard B. Sukherman & Associates. P.C.
                                             _____________________________________________________________
                                                               Name of law firm
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                      UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF NEW YORK

PRE-PETITION STATEMENT PURSUANT TO LOCAL BANKRUPTCY RULE 2017-1


        Badalova, Nonna
DEBTOR: __________________________

CO-DEBTOR: __________________________

CASE #:


      I spent approximately 60 minutes explaining the process of bankruptcy to my client,
___________________________,
         Badalova, Nonna       prior to the filing of the general petition


_Leonard B. Sukherman______________
ATTORNEY NAME
/s/Leonard B Sukherman
___________________________________
ATTORNEY SIGNATURE

_(718) 787-0500______________________
ATTORNEY TELEPHONE
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                                      UNITED STATES BANKRUPTCY COURT
                                       EASTERN DISTRICT OF NEW YORK

                                        STATEMENT PURSUANT TO LOCAL
                                          BANKRUPTCY RULE 1073-2(b)


DEBTOR(S): Badalova, Nonna                                                                CASE NO.:

        Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other pe titioner) hereby makes the following disclosure
concerning Related C ases, to the petitioner’s best knowledge, information and belief:

[NOTE: Cases sh all be deemed “ Related C ases” for purpose s of E.D.N.Y . LBR 10 73-1 and E.D.N.Y. L BR 10 73-2 if the earlier ca se
was pending at any time within six years before the filing of the new petition, and the debtors in such cases: (i) are the same; (ii)
are spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership;
(v) are a partnership and one or more of its general partners; (vi) are partnerships which share one or more common general
partners; or (vii) have, or within 180 days of the commencement of either of the Related Cases had, an intere st in property that
was o r is included in the pro perty o f anoth er estate u nder 11 U.S.C. § 541(a) .]

G NO RELATED CASE IS PENDING OR HAS BEEN PEN DING AT ANY TIME.

G
✔
  THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

             654141/13
1. CASE NO.:__________________                                                Supreme NY Couty
                               JUDGE:_____________________ DISTRICT/DIVISION:_________________________

CASE STILL PENDING (Y/N):_____              [If closed] Date of closing:________________

                                  Judgment Issued
CURRENT STA TUS OF RELATE D CASE:_____________________________________________________________________
                                    (Discharged/awaiting discharge, confirmed, dismissed, etc.)

                                                          Debtor is Defendant
MANNER IN WHICH CASES ARE RELATED (Refer to NOTE ab ove):_________________________________________

REAL PROPERTY L ISTED IN DEBTOR’S SCHE DULE “A” (“R EAL PRO PERT Y”) W HICH WAS ALSO                                    LISTED IN
                              Not applicable. Property foreclosed and bank owned.
SCHEDULE “A” OF RELATED CASE:_________________________________________________________________________

_____________________________________________________________________________________________________________




2. CASE NO.:___________________ JUDGE:_____________________ DISTRICT/DIVISION:__________________________

CASE STILL PENDING (Y/N):_____              [If closed] Date of closing:________________

CURRENT STA TUS OF RELATE D CASE:_____________________________________________________________________
                                    (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE ab ove):______________________________________________

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (“REAL PROPERTY”) WHICH WAS ALSO LISTED
IN SCHEDULE “A” OF RELATED CASE:______________________________________________________________________

_____________________________________________________________________________________________________________


                                                              (OVER)
                Case 1-15-40586-nhl           Doc 1      Filed 02/16/15       Entered 02/16/15 15:18:59



DISCLOSURE OF RELATED CASE S (cont’d)




3. CASE NO.:____________________ JUDGE:_____________________ DISTRICT/DIVISION:_________________________

CASE STILL PENDING (Y/N):_____             [If closed] Date of closing:________________

CURRENT STA TUS OF RELATE D CASE:_____________________________________________________________________
                                    (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE ab ove):______________________________________________

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (“REAL PROPERTY”) WHICH WAS ALSO LISTED
IN SCHEDULE “A” OF RELATED CASE:______________________________________________________________________

_____________________________________________________________________________________________________________




NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may
not be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.


TO BE COM PLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

                                                                     Y
I am admitted to practice in the Eastern District of New York (Y/N):_____


CERTIF ICATION (to be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any time,
except a s indicated elsewhe re on this fo rm.


 /s/Leonard B Sukherman
_____________________________________________                       /s/ Nonna Badalova
                                                                    _____________________________________________
Signature of Debtor's Attorney                                      Signature of Pro Se Debtor/Petitioner

                                                                    _____________________________________________
                                                                    Mailing Address of Debtor/Petitioner

                                                                    _____________________________________________
                                                                    City, State, Zip Code

                                                                    _____________________________________________
                                                                    Area Code and Telephone Number


Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor
or any other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of
a trustee or the dismissal of the case with prejudice.

NOTE : Any cha nge in addre ss must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherw ise
result.




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                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF NEW YORK



------------------------------------------------------------x
In Re:

                                                                   Case No.
     Badalova, Nonna
                                                                   Chapter 7

                           Debtor(s)
------------------------------------------------------------x



     VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS



               The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that
the creditor matrix/list of creditors submitted herein is true and correct to the best of his or her
knowledge.



Dated: 02/16/2015


                                                      /s/ Nonna Badalova
                                                      _______________________________________
                                                      Debtor


                                                      _______________________________________
                                                      Joint Debtor


                                                      /s/Leonard B Sukherman
                                                      _______________________________________
                                                      Attorney for Debtor




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